Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 1 of 38


                                                   FILED              LODGED


                                                  Sep 03 2020
                                                    CLERK U.S. DISTRICT COURT
                                                       DISTRICT OF ARIZONA
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 2 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 3 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 4 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 5 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 6 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 7 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 8 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 9 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 10 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 11 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 12 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 13 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 14 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 15 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 16 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 17 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 18 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 19 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 20 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 21 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 22 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 23 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 24 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 25 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 26 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 27 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 28 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 29 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 30 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 31 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 32 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 33 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 34 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 35 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 36 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 37 of 38
Case 2:19-cv-05729-DLR-MTM Document 36 Filed 09/25/20 Page 38 of 38
